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  3. STATEMENTS

          Are you aware of any statement made by defendant(s) (or its employees)
  regarding the occurrence mentioned in the complaint, whether oral, written or
  recorded in any way, including, but not limited to, a stenographic, mechanical,
  electrical, audio, video, motion picture, photograph, or other recording, or
  transcription thereof, and, if so, state the following:

         (a) Date, place, and time taken;

         1- Statements of Defendants Clinton and Selz at Plaintiffs' home,
                                    , on July 10, 2016, at approximately 3 a.m.
         2- Statements of Sergeant Vaughn via phone on or about July 31, 2016, at
         approximately 5 or 6 p.m., to the best of Plaintiff Luer's recollection
         3- Statements of unknown dispatcher or other employee of St. Louis County Police
         Department on or about July 12, 2016 and on or about July 13, 2016, to the best of
         Plaintiff Luer's recollection, times unknown

         (b) Name and addresses of all persons connected with taking it;

         NIA (not recorded by Plaintiff)

         (c) Names and addresses of all persons present at the time it was
         taken;

         1- Defendant Officer Michael Clinton, 7900 Forsyth, St. Louis MO 63105;
            Defendant Officer Bejamin Selz,                                      ;
            Plaintiffs Luer, Steinebach and Luca Vezin, then of
                                , and taxi driver Amin, address unknown
         2- Sergeant Vaughn, address unknown, Plaintiff Luer
         3- Unknown dispatcher, address unknown, Plaintiff Luer

         (d) Whether the statement was oral, written, shmihand, recorded,
         taped, etc.;

         1- Oral
         2- Oral. Sergeant Vaughn also left a recorded voicemail for Plaintiff Luer on or
            about July 28, 2016.
         3- Oral

         (d) Was it signed?

         1- No
         2- No
         3- No
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          (i) Your son's previous employers1 names for the past five (5) years and the dates
          of his employment there.

   Welk Luxury Resorts, selling travel packages (summer 2018.)

   Hotel Der Kleine Prince, apprenticeship program, Baden Baden, Germany
   (2018-2021)



   18. Police contact.

          Identify, by date, time, and place, all contact you have had with Defendants.

   ANSWER:

   See response to interrogatory no. 3. In addition, Plaintiff Luer received a warning for
   speeding at a traffic stop in December 2017 on Big Bend Road.




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